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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                                              CASE No.: 6:22-cv-02349-RBD-DCI
MICHELLE STRICKLAND,

  Plaintiff,

vs.

GOLFVIEW PLAZA CENTER, LLC,
and CROOK'S DEN ENTERPRISES,
LLC, d/b/a CROOKS DEN, et al.,

     Defendants.
_______________________________/

               NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.07(c), I certify that the instant action is
related to pending or closed civil or criminal case(s) previously filed in this Court,
or any other Federal or State court, or administrative agency as indicated below:
       ____NONE___________________________________________
       _____________________________________________________

      I further certify that I will serve a copy of this Notice of Pendency of Other
Actions upon each party no later than fourteen days after appearance of the party.

Dated: December 27, 2022
                                              By:/S/Joe M. Quick, Esq.______
                                              Joe M. Quick, Esq.
                                              Bar Number 0883794
                                              Attorney for Plaintiff
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                         CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of December 2022, I electronically filed
the foregoing with the Clerk of Court by using the CM/ECF system. I also certify
that the aforementioned document is being served on all counsel of record,
corporation, or pro se parties via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner for those counsel or
parties who are not authorized to receive electronically Notices of Filing.



                                              By:/S/Joe M. Quick, Esq.______
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